                 EXHIBIT
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Case 2:21-cv-00968-LA Filed 08/16/21 Page 1 of 3 Document 1-6
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                                                              July 7, 2021
    Cliffs Mining Company                                               Joseph E. Tierney, III
    c/o Cleveland-Cliffs Headquarters                                    Meissner Tierney Fisher&: Nichols S.C.
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     NOTICE OF DEMAND FOR RETURN OF FUNDS TO ESCROW ACCOUNT #1154688

    Acting pursuant to Section 3 of that certain Escrow Agreement dated as of August 31, 2006 by and
    among East Greenfield LLC, an Illinois limited liability company ("East Greenfield" or "EGI"),
    Cliffs Mining Company, a Delaware corporation ("Cliffs"), and Chicago Title Insurance Company,
    a Missouri corporation acting as escrow agent (the ' Escrow Agent'), as amended in the EGI/Cliffs
    Settlement Agreement dated as of August 31, 2017, East Greenfield is hereby demanding a return
    of the funds withdrav.rn from the above referenced Escrow account, regarding which EGI
    previously objected on June 10, 2021 to Cliffs and the Escrow Agent by opposing the entirety of
    the requested expenditure from the above referenced escrow account, partial notice of which was
    received by EGI on May 14, 2021 and full notice of which was received by supplemental email on
    May 19, 2021.

    Cliffs has acknowledged that their initial notice intentionally referenced additional pages
    containing the explanation for withdrawal of funds that were stated as included in their notice
    but were intentionally withheld and not provided until several days later. EGJ further demands a
    more detailed accounting of all expenditures related to the withdrawal from the escrow account
    as it is believed that such withdrawal violated Section 3 of the escrow agreement, which details
    the limited purposes for which escrow funds may be used as previously detailed in initial
    objections and as set forth again below:

    According to Cliffs' May 19, 2021 notice, the requested funds were for payment directed to
    Wisconsin Gas LLC, as a provider of senrices "performing remedial activities required or
    otherwise approved or authorized by EPA in payment for the performance of such services. ' In
    support of this withdrawal, Cliffs completed its Notice of Withdrawal via the prmrision of a




            Case 2:21-cv-00968-LA Filed 08/16/21 Page 2 of 3 Document 1-6
Page 2
July 7, 2021

Settlement document allocating funds to Wisconsin Electric Power Company and Wisconsin
Gas, UC ("WI Gas").

Upon information and belief, WI Gas is not "a provider of services 'performing remedial activities
required or otherwise approved or authorized by EPA in payment for the performance of such
services." According to Wisconsin Gas LLCs self-provided information with Dun&: Broadstreet:

                         Wisconsin's cold winters would be that much colder without
                         Wisconsin Gas' steady supply of natural gas to residential,
                         commercial, and industrial customers across that state. The
                         company provides natural gas and ancillary services. Wisconsin
                         Gas (in combination with sister companies Wisconsin Electric
                         Power and Edison Sault) serves more than 1 million natural gas
                         customers. The utility operates about 10,800 miles of gas mains.
                         Wisconsin Gas distributes 40% of the natural gas consumed in
                         Wisconsin. Along with Wisconsin Electric Power, it is a subsidiary
                         of regional utility holding company WEC Energy. The two
                         subsidiaries use the trade name We Energies.1

Moreover, the Settlement Agreement and other supporting documentation provided to EGI
specifically indicate that the withdrawal is both speculative and provided for potential future
costs incurred.

The terms of the August 31, 2006 Escrow Agreement and the Settlement Agreement of August 31,
2017 do not allow for speculative withdrawals nor do they allow for the withdrawal of funds to
be paid to individuals or companies not in the business of providing remediation services as
required by the EPA.

For these reasons, EGI respectfully requests an accounting of all funds paid, including a
demonstration that such funds were paid in accordance with the limited purposes set forth in
Section 3 of the August 31, 2006 Escrow Agreement. EGI further demands the return of all funds
paid to WE Energies, who is not a provider of remedial services along with all funds that were
speculatively withdrawn, be returned the above referenced Escrow account.

If Cliffs fails to provide for immediate return of the funds at issue and a proper accounting, EGI
will be filing for arbitration as set forth in the August 31, 2006 Escrow Agreement within 30 days.

                                                                                   Very truly yours,

                                                                                 ~xf~
                                                                                   George Bellas
                                                                                   Attorney at Law

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    https :/ /www.dnb.com/busi ness-di rectory/ company-profiles. wis co nsin _gas _Ilc.1395d b78 la 507 dcb3 78eecl21 bca ee95. htm I




          Case 2:21-cv-00968-LA Filed 08/16/21 Page 3 of 3 Document 1-6
